902 F.2d 30Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Augustus WALKER, Plaintiff-Appellant,v.Melinda BOND;  Fred Greene;  Dan Larsen;  E.C. Morris,Defendants-Appellees.
    No. 90-7028.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 16, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Glen E. Conrad, United States Magistrate.  (C/A No. 89-813-R)
      William Augustus Walker, appellant pro se.
      Gayl Branum Carr, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Augustus Walker appeals from the magistrate's order denying relief under 42 U.S.C. Sec. 1983.*   Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the magistrate.  Walker v. Bond, C/A No. 89-813-R (W.D.Va. Jan. 29, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         The parties consented to the jurisdiction of the magistrate.  See 28 U.S.C. Sec. 636(c)(1)
      
    
    